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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 20-1697V
                                          UNPUBLISHED


    DEBORAH LITER,                                              Chief Special Master Corcoran

                         Petitioner,                            Filed: September 26, 2022
    v.
                                                                Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                     Damages Decision Based on Proffer;
    HUMAN SERVICES,                                             Influenza (Flu) Vaccine; Shoulder
                                                                Injury Related to Vaccine
                         Respondent.                            Administration (SIRVA)


Jeffrey S. Pop, Jeffrey S. Pop & Associates, Beverly Hills, CA, for Petitioner.

Ronalda Elnetta Kosh, U.S. Department of Justice, Washington, DC, for Respondent.

                                 DECISION AWARDING DAMAGES 1

       On November 25, 2020, Deborah Liter filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleges that she suffered a right shoulder injury related to
vaccine administration (“SIRVA”) from an influenza vaccination she received on October
29, 2019. Petition at 1. The case was assigned to the Special Processing Unit of the
Office of Special Masters.

        On July 15, 2022, a ruling on entitlement was issued, finding Petitioner entitled to
compensation for her SIRVA. On September 23, 2022, Respondent filed a proffer on
award of compensation (“Proffer”) indicating Petitioner should be awarded $62,500.00 in
pain and suffering. Proffer at 1. In the Proffer, Respondent represented that Petitioner
agrees with the proffered award. Id. Based on the record as a whole, I find that Petitioner
is entitled to an award as stated in the Proffer.

1  Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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       Pursuant to the terms stated in the attached Proffer, I award Petitioner a lump
sum payment of $62,500.00 in pain and suffering in the form of a check payable to
Petitioner. This amount represents compensation for all damages that would be available
under Section 15(a).

       The Clerk of Court is directed to enter judgment in accordance with this decision. 3

       IT IS SO ORDERED.

                                                                 s/Brian H. Corcoran
                                                                 Brian H. Corcoran
                                                                 Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice

renouncing the right to seek review.


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            IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                        OFFICE OF SPECIAL MASTERS
____________________________________
                                    )
DEBORAH LITER,                      )
                                    )
                                    )
            Petitioner,             )
                                    )   No. 20-1697V
      v.                            )   Chief Special Master Corcoran
                                    )   ECF
SECRETARY OF HEALTH AND             )
HUMAN SERVICES,                     )
                                    )
            Respondent.             )
____________________________________)

            RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

       On November 25, 2020, Deborah Liter (“petitioner”) filed a petition for compensation

(“Petition” or “Pet.”) under the National Childhood Vaccine Injury Act of 1986, 42 U.S.C.

§§ 300aa-1 et seq. (“Vaccine Act” or “Act”). Petitioner alleges that she suffered a shoulder

injury related to vaccine administration (“SIRVA”) as a result of an influenza (“flu”) vaccine

administered in her right shoulder on October 29, 2019. See Petition at 1. On July 15, 2022, the

Secretary of Health and Human Services (“respondent”) filed a Rule 4(c) Report indicating that

this case is appropriate for compensation under the terms of the Act for a SIRVA Table injury,

and on the same day, the Chief Special Master issued a Ruling on Entitlement finding petitioner

entitled to compensation. ECF No. 30; ECF No. 31.

I.     Items of Compensation

       A.      Pain and Suffering

       Respondent proffers that petitioner should be awarded $62,500.00 in pain and suffering.

See 42 U.S.C. § 300aa-15(a)(4). Petitioner agrees.
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       This amount represents all elements of compensation to which petitioner is entitled under

42 U.S.C. § 300aa-15(a). Petitioner agrees.

II.    Form of the Award

       Petitioner is a competent adult. Evidence of guardianship is not required in this case.

Respondent recommends that the compensation provided to petitioner should be made through

one lump sum payment as described below and requests that the Chief Special Master’s decision

and the Court’s judgment award the following 1: a lump sum payment of $62,500.00, in the form

of a check payable to petitioner.

III.   Summary of Recommended Payment Following Judgment

       Lump sum payable to petitioner, Deborah Liter:       $62,500.00

                                                     Respectfully submitted,

                                                     BRIAN M. BOYNTON
                                                     Principal Deputy Assistant Attorney General

                                                     C. SALVATORE D’ALESSIO
                                                     Acting Director
                                                     Torts Branch, Civil Division

                                                     HEATHER L. PEARLMAN
                                                     Deputy Director
                                                     Torts Branch, Civil Division

                                                     TRACI R. PATTON
                                                     Assistant Director
                                                     Torts Branch, Civil Division




1Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future pain and
suffering.
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                                        s/ Ronalda E. Kosh
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DATED: September 23, 2022




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